          Case 3:14-mj-04518-LHG                                  Document 66                  Filed 10/16/14                  Page 1 of 1 PageID: 113
        20 APPOINTMENT OF AND AUTHORITY TO PAY COURT APPOINTED COUNSEL (Rev.
1. CIR../DIST./ DIV. CODE                                                                                                VOUCHER NUMBER

                                                                                               5. APPEALS DKT./DEF. NUMBER                    6. OTHER DKT. NUMBER

                                                                                               9. TYPEPERSON                                  10. REPRESENTATION TYPE
                                                                                               X Adult Defendant             0 Appellant          (See Instructions)
   us·v. CADET, ET AL.                                                                         0 Juvenile Defendant
                                                                                                  Other
                                                                                                                             0 Appellee

11. OFFENSE(S) CHARGED (Cite U.S. Code, Title & Section)                than one               to five) major offenses         according to severity of offense.
   21:846 CD.F- Conspiracy to Distribute Controlled Substance. [On or about 11/2013 to 10/2014]
12. ATTORNEY'S NAME (First Name, MI., LastName, including any suffix},                         13. COURT ORDER
    AND MAll..ING ADDRESS                                                                       X 0 Appointing Counsel                        0C
   .Lawrence Welle, Esq.                                                                        D F Subs For Federal Defender                 0R
                                                                                                0 P Subs For Panel Attorney                   0Y
    1804 Pine Terrace
    Lake Como, NJ 07719                                                                        Prior Attorney's
                                                                                                  Appointment Dates: - - - - - - - - - - - -
                                                                                                0 Because the above-:named person represented has_ testified under ()ath or has otherwise
    Telephone Number: -~------7~3;.;2;;.._..;.7...;4.:.1_-8;;.1;;.8;;.1;;._______
·~-------------------~--------~m_~~-~.c~~~~~~~-~~e~re~~~J
                                                                                               satisfi<d thU C-1hat he"' she (I)~ finaociaDy unable to employ         counsel\0!4-   •.:.•. ·
14. NAMEANDMAll..ING ADDRESS OF LAW                       (Only provide per instructions)      name appears in Item 12 is appointed to     sent this        in this    e, O.R   · . :.' .' 'y_·_?~.
                                                                                                 D Other (See Instructions)                                                 .           ..,, ~,




                                                                                                                                                           21. CASE DISPOSffiON

                                                    TO:
  . CLAIM STATUS                D Final Payment                D Interim Payment Number                                        D Supplemental Payment

    Have you previously applied to the court for compensation and/or reimbursement for this    DYES        D NO           If yes, were you paid? DYES            D NO
    Other than from the Court, have you, or ~ your knowledge has anyone else, received payment (compensation or anything of value) from any other source in connection with this
    representation? D YES         D NO             If yes, give details on additional sheets.
    I swear or affirm the truth or correctness of the above statements.




                                                                                                       DATE                                    28a. JUDGE/MAG. JUDGE CODE

                                   30. OUTOFCOURTCOMP.                 31. TRAVELEXPENSES              32. OTHER EXPENSES                      33. TOTAL AMT. APPROVED

    SIGNATURE OF CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE) Payment approved                          DATE                                    34a. JUDGE CODE
    in excess ofthe statutory threshold amount.
